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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re:, : Chapter ll

HOTELS UNION SQUARE MEZZ l LLCl : Case No. 10-10971 (KJC)

HOTELS UNION SQUARE MEZZ 2 LLC, : (Jointly Administered)
Debtors. Re: Docket No. 151

 

FINAL DECREE CLOSING THE DEBTORS CHAPTER 11 CASES PURSUANT TO
SECTION 350(a) OF THE BANKRUPTCY CODE, BANKRPUTCY RULE 3022 AND
LOCAL RULE 5009-1
Upon consideration of the Debz‘ors ’ Molionfor Final Decree Closing the Debtors’

Chapter 11 Cases Pursuant to Section 35 U(a) of the Bankruptcy Code, Bankruptcy Rule 3 022

 

and Local R_ule 5 009-1 (the “Motion”), the Court finding that (i) it has jurisdiction over the
matters raised in the Motion pursuant to 28 U.S.C. § 1334, (ii) this is a core proceeding pursuant
to 28 U.S.C. §157(b), (iii) venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and
1409, (iv) notice of the Motion and the hearing on the Motion was sufficient under the
circumstances, and (v) the relief requested in the Motion is in the best interests of the Debtors’
estates, their creditors, and other parties in interest; and after due deliberation and sufficient
cause appearing therefor, v

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

l. The Motion is GRANTED in its entirety.

2. The Cases are hereby closed and a final decree is granted pursuant to section
350(a) of the Bankruptcy Code effective as of the date of the entry of this Final Decree.

3. A copy of this Final Decree shall be docketed in each of the Cases.

 

l The last four digits of the Debtors’ federal tax identification numbers are 3422 and 3618.

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4. Entry of this Final Decree is without prejudice to the rights of the Debtors or any
other party in interest to seek to reopen any of the Cases for cause.

5. The Debtors shall not be obligated to pay any fees in respect of these chapter ll
Cases to the United States Trustee in accordance with 28 U.S.C. § l930(a)(6) for any period
beyond the date of this Final Decree.

6. That notwithstanding the possible applicability of Bankruptcy Rules 6004(h),
7062 or 9014 or otherwise, the terms and conditions of this Order shall be immediately effective
and enforceable upon its entry;

7. This Court shall retain jurisdiction with respect to issues arising under this Final

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Dated: December/L</, 2010 THE ONO BL KEVIN J.CARE
Wilmington, Delaware UNIT D STA ES ANKR TCY JU GE

Decree notwithstanding the closing of

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